ILND 450 (Rev. Case:    1:18-cv-05391
               10/13) Judgment in a Civil Action Document   #: 95 Filed: 03/09/23 Page 1 of 2 PageID #:1259

                                     IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE
                                        NORTHERN DISTRICT OF ILLINOIS

 Jacqueline Stevens,

 Plaintiff,
                                                                    Case No. 18-cv-05391
 v.                                                                 Judge Mary M. Rowland

 Broadcasting Board of Governors, United States
 Department of Commerce, Bureau of Industry and
 Security, U.S. Geological Survey, U.S.
 Department of Health and Human Services,
 Federal Bureau of Investigation, Department of
 Homeland Security, Immigration and Customs and
 Enforcement, U.S. Department of State, United
 States Administration for International
 Development, U.S. Customs and Border
 Protection, Office of Justice Programs, and, U.S.
 Citizenship and Immigration Services ,

 Defendants.

                                               JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                  in favor of plaintiff(s)
                  and against defendant(s)
                  in the amount of $       ,

                           which        includes       pre–judgment interest.
                                        does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


               in favor of defendants Broadcasting Board of Governors, United States Department of
Commerce, Bureau of Industry and Security, U.S. Geological Survey, U.S. Department of Health and Human
Services, Federal Bureau of Investigation, Department of Homeland Security, Immigration and Customs and
Enforcement, U.S. Department of State, United States Administration for International Development, U.S.
Customs and Border Protection, Office of Justice Programs, and, U.S. Citizenship and Immigration Services
               and against plaintiff Jacqueline Stevens.
       Defendants shall recover costs from plaintiff.


                  other:
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This action was (check one):

    tried by a jury with Judge Mary M. Rowland presiding, and the jury has rendered a verdict.
    tried by Judge Mary M. Rowland without a jury and the above decision was reached.
    decided by Judge Mary M. Rowland on a motion for summary judgment.



Date: 3/9/2023                                                  Thomas G. Bruton, Clerk of Court

                                                      Dawn A. Moreno, Deputy Clerk
